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   9                      UNITED STATES DISTRICT COURT
  10                    CENTRAL DISTRICT OF CALIFORNIA
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       DELANEY SHARPE, ERIN WEILER,            Case No. 2:19-cv-10920-FMO-GJS
  12   JENNA LEDER, and ADRIANA
       DIGENNARO on Behalf of Themselves       ORDER GRANTING JOINT
  13   and all Others Similarly Situated,
                                               STIPULATION [61]
  14                                           CONTINUING FACT AND
                            Plaintiffs,
  15         v.                                EXPERT DISCOVERY
                                               DEADLINES
  16
       GT’S LIVING FOODS, LLC.,
  17
                            Defendant.         Judge: Hon. Fernando M. Olguin
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       [PROPOSED] ORDER GRANTING STIPULATION
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   1         The Court, having reviewed the Joint Stipulation Continuing Fact and Expert
   2   Discovery Deadlines (Dkt. 61), and good cause appearing, hereby ORDERS as
   3   follows:
   4         The parties’ respective pre-trial deadlines are continued as follows:
   5               Completion of Fact Discovery: April 30, 2021
   6               Service of Initial Expert Witness Disclosures: June 2, 2021
   7               Service of Rebuttal Expert Witness Disclosures: July 2, 2021
   8               Completion of Expert Discovery: August 2, 2021
   9               Filing of Motion for Class Certification: August 2, 2021
  10               Filing of Summary Judgment Motions: October 1, 2021
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  12   IT IS SO ORDERED.
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  15   Dated: March 16, 2021                        __________/s/_______________
                                                         Fernando M. Olguin
  16
                                                         United States District Judge
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       [PROPOSED] ORDER GRANTING STIPULATION                                            1
